              Case 2:23-cv-01629-BJR Document 20 Filed 03/08/24 Page 1 of 2




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 7                         IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE WESTERN DISTRICT OF WASHINGTON
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     MICHAEL PFINGSTEN, individually and           Case No. 2:23−cv−01629−BJR
11   on behalf of all others similarly situated,
12                                                 JOINT STIPULATION OF DISMISSAL
13                        Plaintiff,
14
                   v.
15
16   CONVOY, INC., a Washington Corporation,
17
18                        Defendant.
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            JOINT STIPULATION -1                                             HAMMONDLAW, P.C.
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               Case 2:23-cv-01629-BJR Document 20 Filed 03/08/24 Page 2 of 2




 1          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the Parties hereby stipulate to
 2   dismissal of Plaintiff’s individual claims, and the claims of putative class members, without
 3   prejudice, and without fees or costs to any party.
 4
 5          Dated this 7th day of March, 2024

 6
 7
           s/ Julian Hammond                               /s/ Mark M. Billion
 8    Julian Hammond #52096                               Mark M. Billion (admitted pro hac vice)
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            JOINT STIPULATION -2                                                     HAMMONDLAW, P.C.
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